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   Exhibit F - US patent 4933964
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   Exhibit Z - Document Production Bates Numbers Regal 000176-000665
   Exhibit AA - XMediusFAX Enterprise T.38 Fax Over IP Solution (obtained Oct 3
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   Exhibit AB - adTempus 4 user guide
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   Exhibit AE - Regal's Document Production 160422 (REGAL 000001-000168)
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   Exhibit AG - Regal's Response to Rogs
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